Case 09-11198-GMB Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc
Exhibit Page 1 of 10

Exhibit B

Case 09-11198-GMB Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc
Exhibit Page 2 of 10

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B6D (Oficial Form 60D) (12/07)

In re Heritage Highgate, Inc. Case No.___99-11198

Debtor

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

ing claims secured by property of the debtor as of
(o the trustee and the creditor and may be provided

State the name, mailing address, including zip code, and last four digits of any account number of all entities hold
statutory liens, mortgages, deeds of trust, and

the date of filing of the petition. The co account ber of any account the debtor has with the creditor is useful

v

if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments,

other security interests,
List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr, P. 1007(m). tf all secured

creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be Jointly liable on a claim, place an "X" in the column labeled “Codebtor” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. Ifa Joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H", “W", "J", or "C* in the column labeled “Husband, Wife, Joint, or Community”.

If the claim is contingent, place an "X" in the column labeled “Contingent”. If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the

claim is disputed, piace an “X" in the column labeled “Disputed”. (You may need to place an "X” in more than one of these three columns.)
“Unsecured Portion, if Any” in the boxes labeled "TotaKs)" on the last

Total the columns labeled “Amount of Claim Without Deducting Vaiue of Collateral” and
also on the Summary of Schedules and, if the debtor is an individual with

sheet of the completed schedule. Report the total from the column labeled “Amount of Claim"
imarily consumer debts, report the total from the column labeled “Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.

Check this box if debtor has no creditors holding secured claims to repon on this Schedule D.

© | Husband, Wife, Joint, or Community Cc} ulo AMOUNT OF
CREDITOR'S NAME ° O; NII
AND MAILING ADDRESS Dy y DATE CLAIM WAS INCURRED, Nitys withour UNSECURED
INCLUDING ZIP CODE, 8 |” NATURE OF LIEN, AND (191¥) — DEDUCTING PORTION, IF
AND ACCOUNT NUMBER g]4 OS CRT RAD VALUE {t}e| VALUE OF ANY
(See instructions above.) R SUBJECT TO LIEN E o o COLLATERAL
Account No. 266 single family and townhouse lots r E
(Market Value is the combined value ©
Gerald J. Bowes, Sr. with Heritage Twin Ponds, L.P.)
1186 King of Prussia Road
Wayne, PA 19087-2839 .
Value $ 18,000,000.00 107,799.99 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
John T. Rogers with Heritage Twin Ponds, L.P.)
214 West Fourth Street
Emporium, PA 15835 .
Value §$ 18,000,000.00 24,500.01 0.00
Account No. 266 single family and townhouse lots
(Market Value Is the combined value
Lehigh County Authority with Heritage Twin Ponds, L.P.)
1053 Spruce Street
P.O. Box 3348 .
Allentown, PA 18106-0348
Value $ 18,000,000.00 4,321.44 0.00
Account No. 266 single family and townhouse fots
(Market Value is the combined value
Lynn C. Summers Rav. Life ins. Trust with Heritage Twin Ponds, L.P.)
clo Wayne Koble, PNC Bank
901 State Street .
Erle, PA 16501
Value $ 18,000,000.00 117,600.00 0.00
Subtotal
4 continuation sheets attached (Total of this page) 254,221.44 0.00

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Exhibit Page 3 of 10
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B6D (Official Form 6D) (12417) - Coat,
In re Heritage Highgate, Inc. Case No. 09-1 1 4198
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
c i i Clujo
CREDITOR'S NAME & | Hosband, Wite, Joint or Community _ gy UT! AMOUNT OF
Oly DATE CLAIM WAS INCURRED, Nits
AND MAILING ADDRESS E NATURE OF LIEN. AND Thrte WITHOUT UNSECURED
INCLUDING ZIP CODE, a} ' '1al¥] — DEDUCTING PORTION, IF
Py DESCRIPTION AND VALUE nlgtr ANY
AND ACCOUNT NUMBER ole OF PROPERTY Glrle VALUE OF
(See instructions.) R SUBJECT TO LIEN Ri 2]; COLLATERAL
Account No. 266 single family and townhouse Jots r E
(Market Value Is the combined value o
Marital Trust U/WIO George Mee with Heritage Twin Ponds, L.P.)
clo Dwight Ball-Hinman, Howard &
Kattell
700 Security Mutual Building °
80 Exchange St., P.O. Box 5250
Binghamton, NY 13901-5250 Value $ 18,000,000.00 215,600.03 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
F/B/O Thomas L. Parks, Sr.
P.O. Box 26903 .
San Francisco, CA 94126-8903
Value $ 18,000,000.00 147,000.00 0.00
Account No. 266 single family and townhouse lots
(Market Vaiue is the combined value
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
F/B/O Charles J. Scagliotti
P.O. Box 26903 .
San Francisco, CA 94126-6903
Value $ 18,000,000.00 107,799.99 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
FIB/O Robert Preston Ili
P.O. Box 26903 .
San Francisco, CA 94126-6903
Value $ 18,000,000.00 73,500.00 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
F/B/O John R. Yalssie
450 Sansome Street, 14th Floor .
San Francisco, CA 94111
Value § 18,000,000.00 107,799.99 0.00
Sheet 1 of 4 _ continuation sheets attached to Subtotal 651,700.01 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Best Case Bankruptcy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Exhibit Page 4 of 10
2/26/09 2:08PM
BSD (Official Form 6D) (12/67) - Cont.
In re Heritage Highgate, inc. Case No. 09-11198
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
' C | Husband, Wife, Join or Community Ci(uro AMOUNT OF
AND MAIL aE es 3 4 DATE CLAIM WAS INCURRED, _|w tl wGbAiM UNSECURED
INCLUDING ZIP CODE a| ORI a toe LIEN, AND italy PORTION, IF
. T Is DESCRIPTION AND VALUE n}iol?| DEDUCTING ANY
AND ACCOUNT NUMBER ole OF PROPERTY Glije VALUE OF
(See instructions.) R SUBJECT TO LIEN F ° 0 COLLATERAL
Account No. 266 single family and townhouse lots r z
(Market Value is the combined value D
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
F/B/O Frank R. Cortese, Jr.
P.O. Box 26903 .
San Francisco, CA 94126-6903
Value $ 18,000,000.00 68,600.01 0.00
Account No. 266 single family and townhouse lots
(Market Value Is the combined value
Pensco Trust Company Custodian with Heritage Twin Ponds, L.P.)
F/BIO Dr. Gary A. Cortese
P.O. Box 26903 .
San Francisco, CA 94126-6903
Value $ 18,000,000.00 127,400.01 0.00
Account No. 266 single family and townhouse lots
(Market Vaiue Is the combined value
Robert Preston, Ill with Heritage Twin Ponds, L.P.)
clo Cornerstone Advisors
74 West Broad Street .
Bethlehem, PA 18018
Value $ 18,000,000.00 73,500.00 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
Tax Collector - Barry L. Moyer with Heritage Twin Ponds, L.P.)
8330 Schantz Road
Breinigsvilte, PA 18031 .
Value $ 18,000,000.00 52,429.22 0.00
Account No, 266 single family and townhouse lots
(Market Value is the combined value
Tax Collector - Lehigh County with Heritage Twin Ponds, LP.)
Fiscal Office - Room 119
17 South Seventh Street .
Allentown, PA 18101-2400
Value $ 18,000,000.00 14,151.48 0.00
Sheet 2 of 4 __ continuation sheets attached to Subtotal 336,080.72 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Best Case Bankruptcy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Exhibit Page 5 of 10
269 2:08PM
B6D (OMicial Forus 6D) (12/07) - Cont.
In re Heritage Highgate, Inc. Case No. 09-11198
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
CT Husband i c]ulo
CREDITOR'S NAME D Pe DATE CLAIM WAS INCURRED 1 | "| NCAIM
AND MAILING ADDRESS e | , firs WITHOUT UNSECURED
w NATURE OF LIEN, AND
RS GUDING ZIP CODE, Rl DESCRIPTION AND VALUE n[o]%} DEDUCTING | PORTION, IF
AND ACCOUNT NUMBER ole OF PROPERTY elrle VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN E S o COLLATERAL
Account No. 266 single family and townhouse lots |" | 7
(Market Value is the combined value D
Tax Collector - Upper Macungie with Heritage Twin Ponds, L.P.)
970 E. Maln Street
Macungle, PA 18062
Value $ 18,000,000.00 §2,429.22 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
The Pollock Investment, L.P. with Heritage Twin Ponds, L.P.)
Pollock Family L.P.
360 Huntsville-idetown Road
Dallas, PA 18612
Value $ 18,000,000.00 112,700.01 0.00
Account No.
Upper Macungie Township
8330 Schantz Road
Breinigsville, PA 18034
Value $ 0.00 29,332.25 29,332.25
Account No.
Upper Macungie Township Authority
8330 Schantz Road
Breinigeville, PA 18031
Value $ 0.00 429.00 429.00
Account No. 266 single family and townhouse iots
(Market Value is the combined value
Wachovia Bank with Heritage Twin Ponds, L.P.)
clo Matthew Tashman, Esquire
Reed Smith, LLP
2500 One Liberty Place, 1650 Market |X
St.
Philadelphia, PA 19103 Value $ 18,000,000.00 14,558,916.51 0.00
Sheet_3 of 4 continuation sheets attached to Subtotal 14,753,806.99 29,761.25
Schedule of Creditors Holding Secured Claims (Total of this page)
Bast Case Bantrupicy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Exhibit Page 6 of 10
2/2609 2.08PM
B6D (Official Form 6D) (12/07) - Cont.
In re Heritage Highgate, Inc. Case No. 09-11198
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
C | Husband, Wile, Joint, or Community cy ulo AMOUNT OF
CREDITOR'S NAME 9 O;Ny!
AND MAILING ADDRESS 2 |e CANATURD ON MENCURRED, [w/t § withour UNSECURED
INCLUDING ZIP CODE, B|w DESCRIPTION AND VALUE i falu DEDUCTING PORTION, IF
AND ACCOUNT NUMBER ale OF PROPERTY Sirle VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN E 2) 2) COLLATERAL
Account No, 266 single family and townhouse lots t z
(Market Value is the combined value D
Wickes Lumber Company with Heritage Twin Ponds, L.P.)
82 Garden Spot Road
Ephrata, PA 17522 . x
Value $ 18,000,000.00 367,854.80 0.00
Account No. 266 single family and townhouse lots
(Market Value is the combined value
Yee Ill Trust with Heritage Twin Ponds, L.P.)
7445 Driftwood Road
Northampton, PA 18067 .
Value § 18,000,000.00 186,200.04 0.00
Account No.
Value §
Account No.
Value $
Account No.
Value §$
Sheet 4 of 4 continuation sheets attached to Subtotal 554,054.81 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Total 16,549,863.97 29,761.25
(Report on Summary of Schedules)
Best Case Bankruptcy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29

B6D (Official Fores 6D) (12/07)

In re

Heritage-Twin Ponds, Il, L.P.

Exhibit Page 7 of 10

Debtor

Case No.

09-11197

PRacn
DTsST

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

other security interests.

List creditors in alphabetical order to the extent
guardian, such as "A.B., a minor child, by John Doe,
creditors will not fit on this page, use the continuation sheet

Ifany entity other than a spouse in a joint case may be jointly liable on a claim, place an”
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whet
liable on each claim by placing an "H", "W", "J", or "C° in the column labeled

If the claim is contingent, place an "X” in the column labeled “Contingent”, If the claim is unliquidated, place an "X" in the column labeled

in more than one of these three columns.)
y” in the boxes labeled “Total(s)* on the last
Schedules and, if the debtor is an individual with
Certain Liabilities and Related Data.

Claim is disputed, place an "X" in the column labeled “Disputed”, (You may need to place an *X"

the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if An
labeled “Amount of Claim” also on the Summary of
“Unsecured Portion" on the Statistical Summary of

Total

sheet of the completed schedule. Report the total from the column
gen consumer debts, report the total from the column labeled

practicable. [f a minor child is a creditor, the child’
guardian." Do not disclose the child's name. See, [1 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured

"Codebtor" ,include the entity on the appropriate
both of them, or the marital community may be

"Unliquidated". If the

provided.

Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

" in the column labeled
her the husband, wife,
“Husband, Wife, Joint, or Community”,

'$ initials and the name and address of the child's

tent or

C | Husband, Wife, Joint, of Commun! cy uo AMOUNT OF
" ° OFN]t
AND MAILING OME ss Ola DATE CLAIM WAS INCURRED, NILES wir UNSECURED
INCLUDING ZIP CODE. 5] NATURE OF LIEN, AND (1914) DEDUCTING PORTION, IF
AND ACCOUNT NUMBER je DESCRIPTION AND VALUE {t{e| VALUE OF ANY
(See instructions above.) R SUBJECT TO LIEN E ® o COLLATERAL
Account No. 44 full single family lots "TE
5 partial townhome lots D
Carles J. Scagliotti 3 partial single family lots
Pensco T Custodl
Po. Box ‘one ustodran (Market Value is the combined value
San Francisco, CA 94126-6903 ~ {with Heritage Highgate, Inc.)
Value $ 18,000,000.00 107,799.99 0.00
Account No. 44 full single family lots
5 partial townhome lots
Dr. Gary A. Cortese 3 partial single family lots
Pensco trust Company Custodian
P.O. Box 26903 (Market Value Is the combined value
San Francisco, CA 94126-6903 ~ ]with Heritage Highgate, Inc.)
Value $ 18,000,000.00 127,400.01 0.00
Account No. 44 full single family lots
5 partial townhome lots
Frank R. Cortese 3 partial single family lots
P. T c ia
P.O. Box “oe ustodian (Market Value is the combined value
San Francisco, CA 94126-6903 ~ | with Heritage Highgate, inc.)
Value $ 18,000,000.00 68,600.01 0.00
Account No. 44 full single family lots
5 partial townhome lots
Gerald J. Bowes, Sr. 3 partial single family lots
166 K Road
Wayne, 7a tocmaia Roa (Market Value is the combined value
’ - [with Heritage Highgate, Inc.)
Value $ 18,000,000.00 107,799.99 0.00
Subtotal
3 inuati : . .
continuation sheets attached (Total of this page) 411,600.00 0.00
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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

Exhibit Page 8 of 10
B6D (Official Forma 6D) (12/87) - Cont.
In re Herltage-Twin Ponds, ll, L.P. Case No, 09-11197
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
C | Husband, Wife, Joint, or Community C}ulo AMOUNT OF
CREDITOR'S NAME Qo ONT!
AND MAILING ADDRESS [2] [DATE CLAIM WASINCURRED, —Tu//8] “CLAIM” | secuney
INCLUDING ZIP CODE, ei) DESCRIPTION AND VALUE n{u[ 7} DEDUCTING | PORTION, IF
AND ACCOUNT NUMBER ols OF PROPERTY Gillie VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN E o 5 COLLATERAL
Account No. 44 full single family lots "TE
5 partial townhome lots 0
John R. Yaisste 3 partial single family lots
clo Comerstone Advisors
74 W. Broad Street, Suite 340 (Market Value Is the combined value
Bethlehem PA 18048 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 107,799.99 0.00
Account No. 44 full single family lots
5 partial townhome lots
John T. Rogers 3 partial single family lots
214 West Fourth Street
Emporium, PA 15835 (Market Value is the combined value
’ ~ {with Heritage Highgate, Inc.)
Value $ 18,000,000.00 24,500.01 0.00
Account No. 44 full single family lots
5 partial townhome lots
Lynn Martial Trust Summers 3 partial single family lots
clo Comerstone Advisors
74 W. Broad Street, Suite 340 (Market Value is the combined value
Bethichem, PA 18018 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 117,600.00 0.00
Account No. 44 full single family lots
5 partial townhome lots
Mee, George Marital Trust 3 partial single family lots
clo Dwight Ball-Hi Hi &
Karten arrenman, Howard (Market Value is the combined value
700 Security Mutual Building ~ {with Heritage Highgate, Inc.)
80 Exchange Street, P.O. Box 5250
Value $ 18,000,000.00 215,600.03 0.00
Account No. 44 full single family lots
5 partial townhome lots
Pollock Investment, L.P. 3 partial single family lots
Co t Advisors
en Broad ‘Steet Sane ado (Market Value is the combined value
Bethlehem, PA 18018 ~ {with Heritage Highgate, Inc.)
Value $ 18,000,000.00 112,700.01 0.00
Sheet 1 of 3___ continuation sheets attached to Subtotal 578,200.04 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Best Case Bantsuptcy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc

B6D (Official Form 6D) (12/07) - Cont,

Inre

Heritage-Twin Ponds, I, L.P.

Exhibit Page 9 of 10

Debtor

Case No.

Q9-11197

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

(Continuation Sheet)

' & | Husband, Wife, Jomnt, or cluyo AMOUNT OF
AND Mert ORS OE 5 8 4 DATE CLAIM WAS INCURRED, 8 t 3 wgeaM UNSECURED
INCLUDING ZIP CODE, B| DESCRIPTION Wu AND L19]21 pepucTING | PORTION, IF
AND ACCOUNT NUMBER ole OF PROPERTY é|tle VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN E D8} ~=COLLATERAL
Account No. 44 full single family lots "IE
5 partial townhome lots 0
Robert Presto, Ill - Personal 3 partial single family lots
clo Cornerstone Advisors
74 West Broad Strest, Sulte 340 (Market Value is the combined value
Bethiehem, PA 18018 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 73,500.00 0.00
Account No. 44 full single family lots
5 partial townhome lots
Robert Preston, tll 3 partial single family lots
P 0 Ti Custodl
P.O. Box beeoe ompany Custodian (Market Value is the combined value
San Francisco, CA 94126-6903 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 73,500.00 0.00
Account No. 44 full single family lots
5 partial townhome lots
Tax Collector - lehigh County 3 partial single family lots
Fiscal - Room 119
17 South Seven (Market Value is the combined value
Aflentown, PA 18101-2400 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 813.34 0.00
Account No. 44 full single family lots
5 partial townhome lots
Tax Collector ~- Upper Macungie 3 partial single family lots
970 E. Main Street
Macungle PA 18062 (Market Value is the combined value
, * |with Heritage Highgate, Inc.)
Value $ 18,000,000.00 3,034.33 0.00
Account No, 44 full single family lots
5 partial townhome lots
Thomas L. Parks, Sr. 3 partial single family lots
Pensco Trust Comapny Custodia
P.O. Box oee0s Pay ©u " (Market Value is the combined vatue
San Francisco, CA 94126-6903 ~ | with Heritage Highgate, Inc.)
Value $ 18,000,000.00 147,000.00 0.00
Sheet 2 of 3___ continuation sheets attached to Subtotal 297,847.67 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Best Case Bankruptcy

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Case 09-11198-GMB_ Doc 200-2 Filed 09/14/09 Entered 09/14/09 17:23:29 Desc
Exhibit

BSD (Official Forms 6D) (12/07) - Cont.

Page 10 of 10

In re Herltage-Twin Ponds, Il, L.P. Case No. ____09-41197
Debtor
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
© | Husband, Wife, Joint, or Community Cluyo AMOUNT OF
CREDITOR'S NAME 9 O;Nit
AND MAILING ADDRESS e (4 OANATURD OF EN GND OYRTETS] 0 ychAM UNSECURED
INCLUDING ZIP CODE, ai ’ tlaju DEDUCTING PORTION, IF
TI DESCRIPTION AND VALUE N{[UlT
AND ACCOUNT NUMBER ote OF PROPERTY Glile VALUE OF ANY
(See instructions.) R SUBJECT TO LIEN E 9 D COLLATERAL
Account No, Mortgage TIE
0
44 full single family lots
Wachovia Bank 5 partial townhome lots
clo Matthew Tashman, Esquire 3 partial single family lots
Reed Smith, LLP - |(Market Value is the combined value
with Heritage Highgate, Inc.)
Value $ 18,000,000.00 14,608,000.00 0.00
Account No, 44 full single family lots
5 partial townhome lots
Wickes Lumber Company 3 partial single family lots
826. Spot Road
Eehata p A ean (Market Value |s the combined value
, ~ {with Heritage Highgate, inc.) x
Value $ 18,000,000.00 367,854.80 0.00
Account No. 44 full single family lots
5 partial townhome lots
Yee Ill Trust 3 partial single family lots
7445 Dri Road
Never ampton P At 8067 (Market Value is the combined value
, ~ |with Heritage Highgate, Inc.)
Value $ 18,000,000.00 186,200.01 0.00
Account No.
Value $
Account No.
Value §$
Sheet 3 of 3__ continuation sheets attached to Subtotal 15,162,054.81 0.00
Schedule of Creditors Holding Secured Claims (Total of this page)
Total 16,449,702.52 0.00
(Report on Summary of Schedules)
Best Case Bankruptcy

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